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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                   §       MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF OF                §
MEXICO, ON APRIL 20, 2010                         §       SECTION J
                                                  §
This Document Relates To:                         §
All cases, 2-10-cv-2771 and 2:10-cv-04536         §       JUDGE BARBIER
                                                  §
                                                  §       MAGISTRATE JUDGE SHUSHAN
                                                  §


                  NOTICE OF MANUAL FILING: EXCEEDS FILE SIZE

         Transocean provides notice that each of the following appendices exceeds the maximum
file size of 5 MB and is not anticipated to be filed under seal:

         Appendix A: A-3; A-15; A-27; A-29; and A-45.




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